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                 UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

EDWARD L. BASKIN,
   Plaintiff,

vs.                                               Case No.: 3:21cv708/MCR/EMT

C. STEENE, et al.,
     Defendants.
________________________/

                                     ORDER

      The chief magistrate judge issued a Report and Recommendation on October

6, 2021 (ECF No. 13). The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). There are no timely filed objections.

      Having considered the Report and Recommendation, and the record, I have

determined the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No.

13) is adopted and incorporated by reference in this order.

      2.     This action is dismissed without prejudice for failure to comply with an

order of the court.
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       3.     The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 15th day of November 2021.



                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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